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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                           Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



              GOVERNMENT’S UNOPPOSED MOTION FOR EXTENSION

       The United States of America respectfully requests a two-week extension to submit

proposed jury instructions. Counsel for the defendant does not oppose this request.

       Under the Court’s pretrial scheduling order, proposed jury instructions are due on or

before October 21, 2019. The government has been working on other matters for this case—

including finalizing discovery, supplementing the bill of particulars, and responding to the

defense motion to strike surplusage and the defendant’s renewed motion to dismiss—and

therefore requests two additional weeks to focus on the jury instructions submission. This

extension of time will not affect the April 6, 2020 trial date. The defense does not oppose this

request.

                                      Respectfully submitted,


JOHN C. DEMERS                                               JESSIE K. LIU
Assistant Attorney General for National Security             United States Attorney

By: /s/                                                      By: /s/
Heather N. Alpino                                            Jonathan Kravis
U.S. Department of Justice                                   Luke Jones
National Security Division                                   Kathryn Rakoczy
950 Pennsylvania Ave. NW                                     555 Fourth Street NW


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Washington, D.C. 20530                         Washington, D.C. 20530
Telephone: (202) 514-2000                      Telephone: (202) 252-6886




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